         Case 2:21-cv-00702-CLM Document 17 Filed 07/23/21 Page 1 of 6                          FILED
                                                                                        2021 Jul-23 AM 11:06
                                                                                       U.S. DISTRICT COURT
                                                                                           N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA

AMERICA’S FRONTLINE DOCTORS,                     )
et al,                                           )
                                                 )
Plaintiffs,                                      )
                                                 )
                      v.                         )     Case No. 2:21-cv-702-CLM
                                                 )
XAVIER BECERRA, et al,                           )
                                                 )
Defendants.                                      )

              RETURN ON SERVICE OF SUMMONS AND COMPLAINT

       I hereby certify and return that on the days noted below, I served summonses together
with the complaints in this case as follows:

        The United States and its agencies that are defendants herein, as required by Rule 4
(i), F.R.Cv.P., were served in the following manner:

       (A) In June, 2021, AUSA Don Long informed me that he would accept service in this
case for the U.S. Attorney in Birmingham by means of email. I emailed a copy of the
summons and complaint in this case to him on June 28, 2021.

        (B) I sent by certified mail a copy of the summons and complaint herein to the U.S.
Attorney General, 950 Pennsylvania Avenue, Washington, D.C., and such was received by
his office on June 30, 2021.

       (C) On June 28, 2021, Isaac C. Belfer at the U.S. Department of Justice, emailed and
informed me that I could serve the federal agencies that are defendants in this case by
mailing copies of the summonses and complaints to the Department of Health and Humans
Services, 200 Independence Avenue, Washington, D.C. On July 6, 2021, the following
agencies and officials were served:

       (1) the Department of Health and Human Services;

      (2) Xavier Becerra, in his official capacity as Secretary of the U.S. Department of
Health and Human Services;



                                             1
         Case 2:21-cv-00702-CLM Document 17 Filed 07/23/21 Page 2 of 6




       (3) the Food and Drug Administration;

      (4) Dr. Janet Woodcock, in her official capacity as Commissioner of the Food and
Drug Administration;

       (5) the Center for Disease Control and Prevention;

       (6) the National Institute of Health; and

       (7) the National Institute of Allergies and Infectious Diseases.

See attached copies.

       I certify under penalty of perjury under the laws of the United States of America that
the foregoing facts are true and correct.


                                                     /s/ Lowell H. Becraft, Jr.
                                                   Lowell H. Becraft, Jr.
                                                   Attorney for Plaintiffs
                                                   ASB 5005-F66L
                                                   403C Andrew Jackson Way
                                                   Huntsville, AL 35801
                                                   256-533-2535
                                                   becraft@hiwaay.net




                                             2
        Case 2:21-cv-00702-CLM Document 17 Filed 07/23/21 Page 3 of 6




                            CERTIFICATE OF SERVICE

       I hereby certify that on this date, July 23, 2021, I electronically transmitted this
pleading to the Clerk of the Court using the CM/ECF system for filing, which will send
notification of such filing to the following counsel for the Defendants:

       Don B. Long, III
       Assistant United States Attorney United States Attorney’s Office
       Northern District of Alabama
       1801 Fourth Avenue North
       Birmingham, Alabama 35203

       James W. Harlow
       Trial Attorney, Consumer Protection Branch
       Civil Division
       U.S. Department of Justice
       P.O. Box 386
       Washington, D.C. 20044-0386

                                                  /s/ Lowell H. Becraft, Jr.
                                                 Lowell H. Becraft, Jr.




                                            3
Case 2:21-cv-00702-CLM Document 17 Filed 07/23/21 Page 4 of 6
Case 2:21-cv-00702-CLM Document 17 Filed 07/23/21 Page 5 of 6
Case 2:21-cv-00702-CLM Document 17 Filed 07/23/21 Page 6 of 6
